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                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF ILLINOIS

    UNITED STATES OF AMERICA,

                         Plaintiff,

    v.                                             Case No. 3:18-CR-30014-NJR-2

    TREVION MCCLENDON,

                         Defendant.


                          MEMORANDUM AND ORDER

ROSENSTENGEL, Chief Judge:

         This matter comes before the Court on the Motion to Modify Monthly Payments

filed by Defendant Trevion McClendon, in which McClendon is seeking to modify his

restitution obligations to $25 a month instead of $100 a month. (Doc. 267). 1

         The Court, however, is not responsible for collecting restitution imposed by a

judgment. In In re Buddhi, the Seventh Circuit Court of Appeals explained that the

Attorney General, not the courts, is “responsible for collection of an unpaid fine or

restitution imposed by a judgment, 18 U.S.C. § 3612(c), and he has delegated his authority

to the Bureau of Prisons, 18 U.S.C. § 4042(a)(1), which created the Inmate Financial

Responsibility Program (IFRP) to facilitate collection. This delegation is proper.” In re

Buddhi, 658 F.3d 740, 742 (7th Cir. 2011) (citation omitted). Furthermore, “courts are not

authorized to override the Bureau’s discretion about such matters, any more than a judge



1 To be clear, the Court ordered McClendon to pay restitution of $9,113.05 in equal monthly
installments of $50 or ten percent of his net monthly income, whichever is greater. (Doc. 139).

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could dictate particulars about a prisoner’s meal schedule or recreation . . . .” Id. (quoting

United States v. Sawyer, 521 F.3d 792, 794 (7th Cir. 2008)).

       Under the IFRP, the Bureau of Prisons assists an inmate in developing a financial

plan for meeting his or her financial obligations. 28 C.F.R. § 545.10. When developing the

inmate’s plan, the unit staff is to consider both “institution resources or non-institution

(community) resources,” excluding $75 a month deposited into the inmate’s trust fund

account. Id. at § 545.11(b). Although the Seventh Circuit has held that inmates’

participation in the IFPR is voluntary, there are significant consequences that may result

from a prisoner’s decision not to participate in the program. United States v. McKnight,

665 F.3d 786, 795 (7th Cir. 2011); United States v. Boyd, 608 F.3d 331, 335 (7th Cir. 2010); 28

C.F.R. § 545.11(d) (listing consequences).

       Here, the Court ordered McClendon to pay restitution of $9,113.05 in equal

monthly installments of $50 or ten percent of his net monthly income, whichever is

greater. (Doc. 139). Those payments, until McClendon is released, “should be handled

through the Inmate Financial Responsibility Program rather the court’s auspices.”

Sawyer, 521 F.3d at 796. Because the Court has no authority to set a payment schedule, his

Motion to Modify Monthly Payments is DENIED.

       IT IS SO ORDERED.

       DATED: October 18, 2021


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                                                   NANCY J. ROSENSTENGEL
                                                   Chief U.S. District Judge



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